 

v

Case 1:18-cr-00044-DKC Document1 Filed 01/25/18 Page 1 of 6

LS pet EO
HE BS uf Gre, COUR T

MVG; USAO 2018R00831 Ak ¥L AND

IN THE unre etesne PISTRICT COURT
FOR THE DISTRICT Ort YLAND

Ay be! ney
UNITED STATES OF AMERIC Wi “ CRIMINAL NO. Dt C- L& -O4 Zp
*

y ee CE PUT ¥
(Conspiracy to Interfere with
MALIK MCCAFFITY Commerce by Robbery, 18 U.S.C. §
MAURICE ALLEN, 1951 (a); Interference with Commerce

by Robbery, 18 U.S.C. § 1951(a);
Using, Carrying, and Brandishing a

*
*
*
*
. *
Defendants *
* Firearm During and In Relation to a
*
*
*
*
*
*

Crime of Violence, 18 U.S.C. § 924(c),
Aiding and Abetting, 18 U.S.C. § 2;

Forfeiture, 18 U.S.C. § 924(d), Fed. R.
Crim. P. 32.2(a))

INDICTMENT

COUNT ONE
(Conspiracy to Interfere with Commerce by Robbery)

The Grand Jury for the District of Maryland charges that:

1, At all times material to this Indictment, Harford Rd. Liquors, 4627 Harford Rd.,
Baltimore, Maryland 21214 (“Harford Rd. Liquors”), was engaged in the retail sale of consumer
products in interstate commerce, and the business of Harford Rd. Liquors affected interstate
commerce.

2. Beginning on or about June 27, 2017, and ending on or about June 27, 2017, in the
District of Maryland, the defendants,

MALIK MCCAFFITY
MAURICE ALLEN,

and other persons both known and unknown to the grand jury, did knowingly and willfully

conspire, combine, confederate, and agree to obstruct, delay and affect, and attempt to obstruct,
 

Case 1:18-cr-00044-DKC Document1 Filed 01/25/18 Page 2 of 6

delay and affect commerce, as that term is defined in Title 18, United States Code, Section 1951,
and the movement of articles and commodities in commerce, by robbery, as that term is defined
in Title 18, United States Code, Section 1951, in that the defendants did unlawfully take and obtain
money and property belonging to Harford Rd. Liquors from the person of and in the presence of
an employee of Harford Rd. Liquors, against the employee’s will by means of actual and
threatened force, violence, and fear of injury, immediate and future, to the employee’s person and

property in the employee’s custody and possession.

18 U.S.C. §1951(a)

 
 

Case 1:18-cr-00044-DKC Document1 Filed 01/25/18 Page 3 of 6

COUNT TWO
(Interference with Commerce by Robbery)

The Grand Jury for the District of Maryland further charges that:

1. At all times material to this Indictment, Harford Rd. Liquors, 4627 Harford Rd.,
Baltimore, Maryland 21214 (“Harford Rd. Liquors’), was engaged in the retail sale of consumer
products in interstate commerce, and the business of Harford Rd. Liquors affected interstate
commerce.

2, On or about June 27, 2017, in the District of Maryland, the defendants,

MALIK MCCAFFITY
MAURICE ALLEN,

did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and affect, commerce as
that term is defined in Title 18, United States Code, Section 1951, and the movement of articles
and commodities in commerce, by robbery, as that term is defined in Title 18, United States Code,
Section 1951, in that the defendants did unlawfully take and obtain money and property belonging
to Harford Rd. Liquors from the person of and in the presence of an employee of Harford Rd.
Liquors, against the employee’s will by means of actual and threatened force, violence, and fear
of injury, immediate and future, to the employee’s person and property in the employee’s custody

and possession,

18 U.S.C. §1951(a)
18 U.S.C. § 2
 

Case 1:18-cr-00044-DKC Document1 Filed 01/25/18 Page 4 of 6

COUNT THREE
(Using, Carrying, and Brandishing a Firearm During and In Relation To a Crime of
Violence)
The Grand Jury for the District of Maryland further charges that:
On or about June 27, 2017, in the District of Maryland, the defendants,

MALIK MCCAFFITY
MAURICE ALLEN,

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for
which they may be prosecuted in a court of the United States, to wit, Interference with Commerce
by Robbery in violation of Title 18, United States Code, Section 1951 (a), as alleged in Count Two

of this Indictment, which is incorporated herein by reference.

18 U.S.C. § 924(c)
18 U.S.C. § 2

 
 

 

I ___E_—OO

Case 1:18-cr-00044-DKC Document1 Filed 01/25/18 Page 5 of 6

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further charges that:

1, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendants
that the United States will seek forfeiture as part of any sentence in accordance with Title 18,
United States Code, Section 924(d), as a result of the defendants’ conviction under Count Two and
Count Three of this Indictment.

2. As a result of the offenses alleged in Count Two and Count Three of this Indictment,
the defendants,

MALIK MCCAFFITY
MAURICE ALLEN,

shall forfeit to the United States the firearms and ammunition involved in the commission of the
offense, to wit: one Daewoo model DP51 9mm Luger semi-automatic pistol with obliterated serial
number, one 9mm Luger Magazine, five FC 9mm hollow point cartridges, one WCC 9mm full
metal jacket cartridge, one Smith and Wesson model M&P Bodyguard .380 semi-automatic pistol
with obliterated serial number, one .380 magazine, three CCT .380 full metal jacket cartridges, and

two Hornaday .380 jacketed soft point cartridges.

18 U.S.C. § 924(d)
Fed, R. Crim. P. 32.2(a)

 
 

Case 1:18-cr-00044-DKC Document 1 Filed 01/25/18 Page 6 of 6

Stephien'M. Schenning
Acting United States Attorney

A TRUE BILL:

a

"SIGNATURE REDACTED,

ae Ten nent EES Dated: //25//97- 2018
Foreperson

 
